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                                        THE HONORABLE MARSHA J. PECHMAN




                    UNITED STATES DISTRICT COURT
              WESTERN DISTRICT OF WASHINGTON AT SEATTLE

NORTHWEST ADMINISTRATORS, INC.,

                   Plaintiff,              NO. C21-01311-MJP

      v.                                   ORDER GRANTING PLAINTIFF’S
                                           MOTION TO CONTINUE COURT
GREG GRAHAM, a sole proprietor, d/b/a      DATES
Graham Hay Company,

                   Defendant.


      THIS MATTER having come on to be heard on Plaintiff’s Motion to Continue

Court Dates, Plaintiff appearing through its attorney, Russell J. Reid of Reid,

McCarthy, Ballew & Leahy, L.L.P., and Defendant, not appearing, stating that the

parties are in settlement discussions and hope to have this matter resolved before

the requested 60-day extension, now, therefore;

      IT IS HEREBY ORDERED that the Plaintiff’s Motion to Continue Court Dates

has been granted as follows:




ORDER GRANTING JOINT MOTION
TO EXTEND COURT DATES – C21-01311-MJP
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      Deadline for FRCP 26(f) conference……………..January 28, 2022

      Initial Disclosures Pursuant to FRCP 26(a)……..February 4, 2022

      Combined Joint Status Report and Discovery
       Plan as Required by FRCP 26(f), and Local
       Rule CR 16………………………………………..February 11, 2022



      DONE IN OPEN COURT this 6th day of December, 2021.


                                            A
                                            Marsha J. Pechman
                                            United States Senior District Judge



Presented for Entry by:



REID, McCARTHY, BALLEW & LEAHY, L.L.P.

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